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“EXHIBIT A”
Case 1:19-cv-21660-RNS Document 4-1 Entered on FLSD Docket 04/30/2019 Page 2 of 26

U.S. Departmentof Homeland Seenrity Notice to Appear
FEBEE ae Se eee a RRR ee eT ees: oe sare = = = =

: aes ES
Tn removi al proceedings under section 240 of the im
Subject ID: 351318975

      

   
     

imigr "tion A and Nationality Act:
PINS: 1055151387

File No: 097 928 095

DOB: 12/31/1990 Event Now KRO1L510000103 -
Inthe Mater oft

Respondent: KEVIN TELLADO currently residing itt

1226 SW 113 TERRACE Apt 202, PEMBROKE PINES,FLORIDA, 33025

en ve oe aes L786) 205-4526 ce
(Number, street. city aod ZIP code) (Area code and shone number)
: {

CJ) 1. You are an arriving alien,
[J 2.
ix} 3.

You ure an alien present in the United States who has not been admitted ar paroled,

You have been admitted tothe Untted Suites, but are removable for the reasons stated belaw,

The Department of Homeland Security alleges that you:
See Continuation Paga Made a Part Hereof

 

On the basis of the foreguing, il is charged that vou are subject (o removal trony the Walted States pursuantto the following
provision(s) of lay:

Sea Continuation Page Made a Part Hereof

CJ ‘This notice is being issued alter an asylum officer has found that the respondent has demonstrated a credible fear of persecution
ar torture,

Section 235(b)C1)-order was vacated pursuant to: Clecrr 208, 300192) Clscrr 235.3(b) SGN)

YOU ARE ORDERED to appear before an immigration judge of the U ‘nied States Department o HR SHeD Hy] aE & reas SPC
TO BE SET

o
. _ 7 18201 S.W. {2th St.
(Complete Alddeess TH yt, a bie dine ser ifany Miami, FL aS OA

hy “ qurshoti

 

 

    
 

 

on To be ek. il To be sat.

> be Hat. oo. . raw Pyrat ‘beri eae front the United States based an the
( Date) ee ime) TA

etd
 

 

 

 

 

 

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Sey
Alien’s Naing File Number Date
KEVIN TELLADO 097 928 095 10/14/2014
Event No: KRO1510000103

 

 

 

THE SERVICE ALLEGES THAT YoU:
1. You ara not a citizen or national of the United States;
2, You are a native of Argentina and a citizen of Argentina;

3. You were on, December ith, 2003, admitted to the United States at or near Miami, Florida
aoa a B2 Temporary Visitor for Pleanure not to exceed 6 months;

4. You adjusted to that of a Lawful Permanent Resident, on July 03rd, 2007, (E30);

5. You were on, February 25th,2014, convicted in the Circuit Court of the Eleventh (11th)
Judicial Circuit in and for Miami Dade County, Florida for Count (1), -Controllad
Substance/Sell/Man/Del/Poss/W/Intent, in violation of Florida Statute 893..13(1) (A) and
Count (2) Controlled Substance/Seall/Man/Del/10Gr>/Conspiracy, in violation of Florida
Statute 893.13(1)(B), for which you received a sentenced two (2) years of community control
followed by four {4) yeara of probation, Case: F-13-004039C,

 

ON THE BASIS OF THE FOREGOING, IT IS CHARGED THAT YOU ARE SUBJECT TO REMOVAL FROM THE UNITED
STATES PURSUANT TO THE FOLLOWING PROVISION (S) OF LAW:

Section 237(a) (2) (B) (4) of the Immigration and Nationality Act, ag amended, in that, at any
time after admission, you have been convicted of a violation of (or a conspiracy or attempt
to violate) any law or regulation of a State, the United States, or a foreign country
relating to a controlled substance {as defined in Section 102 of the Controlled Substances
Act, 21.U,.8.€, 802), other than a single offense involving possession for one's own use of
30 grama or less of marijuana.

 

 

 

 

 

 

 

 

aT Ly mfp fl or
Signature en me Vitfe
MYCHINEL HO% ary SDDO
6
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Notice to Respondent
Warning: Any statement you make may be used agalnst you in removal proceedings,

Allen Registration: This copy of the Notice to Appear served-upon you is evidence of your alien registration While you arg under removal
proceedings. You are required to carry It with you at all dimes.

Representation: Ifyou so choose, you may be represented in this proceeding, at no expense tothe Government, byt aa altorney or other individual
authorized and quallfied to represent persons before the Executive Office for Immigration Review, pursuant to:8 CFR 3.16. Unless.you so request, no
hearing will be scheduled earlier than ten days from the date of this notice, to allow you sufficient time to secure counsel, A list of qualified attomeys
and organizations who moy be available to fepresent yuu at no cost will be provided avith this notice,

Conduct of the hearing: At the time of your hearing, you should bring with you any affidavits or other documents, which you desire to have
considered in connection with your case, If you wish to have the testimony of any witnesses considered, you should arrange to have such witnesses
present al (he hearing,

Al your hearing you will be given the opportunity to admit or deny any or all of the allegatlous in the Notice to Appear and thatyou are inadnilssble:
or removable on the charges contained in the Notice to Appear. You will have an Opportunity to present-evidence on your own behalf. to examine any.
evidence presented by the Government, to object, on proper legal grounds, to the receipt of evidence and to cross examine any witnesses presented by

the Government. Atthe conclusion of your hearing, you have n right to uppeal an adverse decision by the immigration judge,

You will-be udvised by the inimigration judge before whom you appear of any relief from removal for which You may appear eligible including the
privilege of depurture voluntarily, You will be given u reasonable opportunity to make any such application to the Intigration judge.

Failure to appear: You-are required to provide the DHS, in writing, with your full mailing address and telephone number, You must notify the
Immigration Court immodiately by using Form EOIR-33 whenever you change your address or telephone number during the course of this proceeding.
You will be provided with a copy of this form. Notices of hearing will be mailed lo this address, If you do not submit Form EOIR-33 and do not
otherwise provide an address at which you may be reached during proceedings, then the Government shall not be required to provide you with wrltten
notice of your hearing, if you fail to attend the hearing at the time and place designated on this notice, or any date and time tater directed by the
Immigration Court. a removal order may be made by the immigration Judge in your absence, and you may be arrested and detatned by the DHS,

Mandatory Duty to Surrender for Removal: If you become subject to a final order of removal, YOU Must surrender for removal te one of the
oftices listed In 8 CFR 241.16(a). Specific addresses on locations for surrender can be obtained from your local DHS office or over the internet ar
linv/wyw.ice.zov/abouvdro/eantact, him. You must surrender within 30 days from the date the order becomes administratively final, unless you
obtain an-order from a Federal coutt, immigration court, or the Board of tmmigration Appeals staying execution of the removal order. Immigration
regulations at 8 CFR 241.1 define when the removal order becomes administratively fina), If you are granicd voluntary departure and fail to depart
the United States as required, fail to post a bond in connection with voluntary departure, or fail to comply with any other condition or temin
connection with voluntary departure, you must surrender for removal on the next business day thereafter, If you do nat surrender for romovul as
required, you will be ineligible forall forms of discretionary rellef for as long as you reniait in the United States and for ten years after departure or
removal. This means you will be ineligible for asylum, cancellation of removal, voluntary departure, adjustnent of status, change ofnoninwnigrant
Status, registry, and related waivers for this period. Ifyou do not sumender for removal as required, you may also be criminally prosecuted under

Section 243 af the Act,

Request for Prompt Hearing
To expedite a determination in my case, | request an inimediate hearing. i waive my right too 10-day perlod prior to appearing before on immigration
judge,

 

Before:
(Sigualtre of Respondenyy

Date:

 

(Signature and Title of Immigration Officer)

Certificate of Service

     
 
  
 

This Notice To Appear way served on the repondent by me on October 14, 2014 inthe following manner and in compliance with section
239(a)(1)(F) of the Act,

[Xin person (7) by certitied mail, retumed receipt requested ([] by regular mai!

(2) Attached is a credible fear worksheet,

tached isa list of organization and atlomeys which provide free legal services,

he alien Was nenuidad wed waite nat
Case 1:19-cv-21660-RNS Document 4-1 Entered on FLSD Docket 04/30/2019 Page 5 of 26

TN ee EVELINA PE EQEN

 

lien's Name: TELLADO, KEVIN A-File Number: 097 928 095
Date: to/ra/2ots
Event [D: kHo1s:0000103 Subject [D; 351518975

 

 

 

Pursuant to the authority contained in section 236 of the Imrnigration and Nationality Act and part 236 of title 8, Code of
Federal Regulations, | have determined that, pending a final administrative determination in your case, you will be:

Detained by the Department of Homeland Security.

[-] Released (check ail that apply):
(] Under bond in the amount of $ A/O Low

[] On your own recognizan 6
[7] Under ot a) 8. Aaciions/ gocumen! s) will be provided. }
|
. eee Tg non
HORNETT, MICHAEL J Ay fe ~ LO/14/2014 Llras aM

Name and Signature’ gf Authorized Officer Date and Time of Custody Determination

an

\\

/

 

SDDO ICE NRO KROME Dectantion Pactlity lane) SH See Teazy

Tite Office Location/Address

 

 

 

You may request a review of this custody determination by an immigration judge.
haf acknowledge receipt of this notification, and
[HT do request an immigration judge review of this custody determination.

 

GD | do not request an immigration judge review of this custody determination.
>

yoll4 IM

 

 

 

  

 

 

 

Signature of Alien Date
lot
The contents of this nolice were read to VHLLABO, KEVIN inthe SNGLISH phuD Ader sdf language.
(Name of Alien) (Name of Language)
AUGULO, R — Z ‘
Name and Signature of Officers Name or Number of Interpreter (if applicable)

 

DEPORTATION OFFICER
Title

 

 
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“EXHIBIT B”
Case 1:19-cv-21660-RNS Document 4-1 Entered on FLSD Docket 04/30/2019 Page 7 of 26

 

PERMANENT RESIDENT CARD
NAME TELL ADO, KEVIN
ae AH 097-928-095
Birthdate Y Category
ise 30

fy oneal

—
aw)

    
  
   
 

Oo Resident Spee: 07/03/07
| CIUSADN9D79280952SRC0409251295<<
9O12318M1904105ARG<<K<< <<< <3
TELLADOX<KEVINK<<K<<K <<< KKK KKK

 

 

 
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“EXHIBIT C”
Case 1:19-cv-21660-RNS Document 4-1 Entered on FLSD Docket 04/30/2019 Page 9 of 26

IMMIGRATION COURT
18201 S.W. 12TH ST
MIAMI, FL 33194
In the Matter of
Case No.: A097-928-095
TELLADO, KEVIN
Respondent IN REMOVAL PROCEEDINGS

ORDER OF THE IMMIGRATION JUDGE

  

This is a summary of the oral decision entered on VE
This memorandum is solely for the convenience of the parties.
proceedings should be appealed or reopened, the oral decision will become
the official opinion in the case.
ty ] The respondent was ordered removed from the United States to
or in the alternative to
[|] Respondent's application for voluntary departure was denied and
respondent was ordered removed to or in the
alternative to
[| ] Respondent's application for voluntary departure was granted until
upon posting a bond in the amount of $
with an alternate order of removal to
Respondent's application for:
{ ] Asylum was ( })granted ( )denied( )withdrawn.
{ ], Withholding of removal was { )granted ( sores ( )withdrawn,
A Waiver under Section was ( )granted Jaensgel ty .) withdrawn,
CA Cancellation of removal under section DOA ta) was « (granted { )denied
( )withdrawn. Ce
Respondent's application for:
{ \] Cancellation under section 240A(b) (1) was ( ) granted ( )}. denied
( ) withdrawn. If granted, it is ordered that the respondent be issued
all appropriate documents necessary to give effect to this order.
[ | Cancellation under section 240A(b) (2) was ( )granted ( )denied
( )withdrawn. If granted it is ordered that the respondent be issued
all appropriated documents necessary to give effect to this order.
{ } Adjustment of Status under Section was ( )granted (  )denied
( )withdrawn. If granted it is ordered that the respondent be issued
all appropriated documents necessary to give effect to this order.

 

 

 

{ J} Respondent's application of ( ) withholding of removal ({ ) deferral of
removal under Article III of the Convention Against Torture was
( ) granted ( ) denied ( ) withdrawn.
[ ]] Respondent's status was rescinded under section 246.
[ ]} Respondent is admitted to the United States as a _ until
[ ]] As a condition of admission, respondent is to post a $ bond,
{ |} Respondent knowingly filed a frivolous asylum application after proper
notice.
[ }} Respondent was advised of the limitation on discretionary relief for
Failure to appear as ordered in the Immigration Judge's oral decision.
{ ] Proceedings were terminated. oN
{ ] Other: ; a ZB oh
Date: Nov 13, 2014 co ‘y aA Co) }y
MIM? ely Df .
Fone SKETCH OT pene

pet ORE Fa

 

 
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ALIEN NUMBER: 097-928-095 NAME: TELLADO, KEVIN

 

CERTIFICATE OF SERVICE

  

 
   
 

THIS DOCUMENT WAS SERVED BY: MAIL (M) PERSONAL -SERVICHE(B)} rn,
TO: [ ] ALIEN | [ ], ALIEN c/o Custodial Officer » “J “ALIEN's ATT/REP “[ ] DHS
DATE: pik BY: COURT STAFF skye

Attachments: ['] EOIR-33 [ ] EOIR-28 [*] Legal Services List [ ] Other

 

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“EXHIBIT D”
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Application for Naturalization USCIS
. Form N-400
Department of Homeland Security OMB No, 1615-0052
USS. Citizenship and Immigration Services Expires 03/31/2019
Date Stamp Reeeipt Action-Block

 

 

 

 

Remarks

 

 

> START HERE - Type or print in black ink. Type or print "N/A" if'an item is not applicable or the answer is none, unless
otherwise indicated. Failure to answer all of the questions may delay U.S. Citizenship and Immigration Services (USCIS) processing
your Form N-400. NOTE: You must complete Parts 1. - 15.

Hf your biological or legal adoptive mother or father is a U.S. citizen by birth, or was naturalized before you reached your 18th
birthday, you may already be a U.S. citizen. Before you consider filing this application, please visit he USCIS Website at
wiww.uscis.gov for more information on this topic and to review the instructions.for Form N-G00, Application tor Certificate of
Citizenship, and Form N-600K, Application for Citizenship and Issuance of Certificate Under Section 322.

NOTE: Are cither of your parents a United States citizen? If you answer “Yes,” then complete Part 6. Information About Your
Parents as part of this application. If you answer "No," then skip Part 6, and go to Part 7. Biographic Information.

| Enter Your 9 Digit A-Number:

> A-[o [9 [7}9]2|ejo]9] 5]

 

1. You are at least 18 years of age and:

A. Have been a lawful permanent resident of the United States for at least 5 years.

B.  {_] Have been a lawful permanent resident of the United States for at least 3 years. In addition, you have been married to
and living with the same U.S. citizen spouse for the last 3 years, and your spouse has been a U.S. citizen for the last
3 years at the time you filed your Form N-400.

Cc. [J Area lawful permanent resident of the United States and you are the spouse of a U.S. citizen and your U.S. citizen
spouse is regularly engaged in specified employment abroad, (See the Immigration and Nationality Act (INA) section
319(b).) If your residential address is outside the United States and you are filing under Section 319(b), select the
USCIS Field Office from the list below where you would like to have your naturalization interview:

| |

Dp. [] Are applying on the basis of qualifying military service,
¢,  (_] Other (Explain): |

 

 

 

 

 
   

f. Your Current Legal Name (do not provide a nickname)

 

 

 

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
[Tellado | [Kevin | IM.

2. Your Name Exactly As It Appears on Your Permanent Resident Card (if applicable)
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
[rellado | IKevin | IM.

 

 

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3, Other Names You Have Used Since Birth (include nicknames, aliases, and maiden name, if applicable)

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
NA

 

 

 

 

 

 

 

 

 

4, Name Change (Optional)
Read the Form N-400 Instructions before you decide whether or not you would like to legally change your name,

Would you like to legally change your name? L} Yes No
If you answered "Yes," type or print the new name you would like to use in the spaces provided below.

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

| | | |

5. U.S, Social Security Number {if applicable) 6, USCIS Online Account Number (ifany)

(5 Jo ]2 fs |3i6| 7] 0] o| ~LT TTT TTT ttt

 

 

 

 

 

 

7, Gender 8 Date of Birth 9. Date You Became a Lawiul
Male [_] Female (mmidd/yyyy) Permanent Resident (mnvdd/yyyy)
12/31/1990 07/03/2007
10. Country of Birth 11, Country of Citizenship or Nationality
lArgentina | [Argentina |
12, Do you have aphysical or developmental disability or mental impairment that prevents you from [| Yes No

demonstrating your knowledge and understanding of the English language and/or civics requirements
for naturalization?

If you answered "Yes," submit a completed Form N-648, Medical Certification for Disability Exceptions, when you file your
Form N-400.

13, Exemptions from the English Language Test

A. Are you 50 years of age or older and have you lived in the United States as a lawful permanent [| Yes No
resident for periods totaling at least 20 years at the time you file your Form N-400?

B. Are you 55 years of age or older and have you lived in the United States as a lawful permanent L] Yes No
resident for periods totaling at least 15 years at the time you file your Form N-400?

C. Are you 65 years of age or older and have you lived in the United States as a lawful permanent [| Yes No
resident for periods totaling at least 20 years at the time you file your Form N-400? (If you meet
this requirement, you will also be given a simplified version of the civics test.)

 

NOTE: Read the information in the Form N-400 Instructions before completing this part.

1. Are you requesting an accommodation because of your disabilities and/or impairments? [-] Yes No
If you answered "Yes," sclect any applicable box,

A. [] 1am deaf or hard of hearing and request the following accommodation. (If you are requesting a sign-language
interpreter, indicate for which language (for example, American Sign Language).)

B. [] | ain blind or have low vision and request the following accommodation:

 

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See af Dee ee eee ee eee eee IOUS

C. [7] Thave another type of disability and/or impairment (for example, use a wheelchair), (Desoribe the nature of your
disability and/or impairment and the accommodation you are requesting.)

 
   

1. Daytime Telephone Number 2. Work Telephone Number (ifany)
[786 205-4526 | | |

 

3. Evening Teleplione Number 4. Mobile Telephone Number. (if any)
| [786 205-4526

 

 

 

5. Email Address-(ifany)
vaporartillery@gmail.com |

 

 

1. Where have you lived during the last five years? Provide your most recent residence and then list every location where you
have lived during the last five years. If you need extra space, use additional sheets of paper.

A. Current Physical Address

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
[14195 Old Sheridan Street | lo wu [|
City or Town County State ZIP Code + 4
[Pembroke Pines | | | FL | (33026 | - | |
Province or Region Postal Code Country

(foreign address only) (foreign address only) (foreign address:only)

 

| | I |

Datesof From Gum/dd/yyyy) To (mmi/dd/yyyy)
Residence 4/01/2017 |{ Present |

 

 

 

B. Current Mailing Address (if different from the address above)

In Care Of Name (if any)

| |

 

 

 

 

Street Number and Name Apt. Ste. Fle. Namber
[14195 Old Sheridan Street lo og

City or Town County Stale ZIP Code + 4
[Southwest Ranches | [Broward | [FL | [33330 |- | |
Province or Region Postal Cade Country

(foreign address only) (foreign address only) (foreign address only)

 

| | |

 

 

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a

A-(o|9]7|9|2/8] 0] 9] 8

 

 

C, Physical Address 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
[8040 SW 178 Street jJooo;, |
City or Town County State ZIP-Code + 4
Miami || | [FL | [a3is7]-| |
Province or Region Postal Code Country
(foreign address only) (foreign address only) (foreign address only)
Dates of rom (mnv/ddlyyyy) To (mmidd/yyyy)
Residence [01/01/2011 | foaro1r2017 |

D. Physical Address 3
Street Number and Name Apt. Ste. Fir. Number
| Jo oo]
City or Town County State ZIP Code +4
Province or Region Postal Code Country
(foreign address only) (foreign address only) (foreign address only)
Dates of From (mm/dd/yyyy) To (mmn/dd/yyyy)
Residence |

E, Physical Address 4
Street Number and Name Apt. Ste. Flr. Number
| joo0al_]
City or Town County State ZIP Code + 4
Province or Region Postal Code Country
(foreign address only) (foreign address only) (foreign address only)
Dates of From Guin/dd/yyyy) To (mm/dd/yyyy)

 

Residence |

 

 

 

If neither one of your parents is a United States citizen, then skip this part and go to Part 7.

1. Were your parents married before your 18th birthday? Yes [-] No

 

2, is your mother.a U.S. citizen? {_] Yes No

If you answered "Yes," complete the following information. If you answered "No," go to Item Number 3,

 

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A-lo|9|7 |9]2{s] 0] 9] 5}

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

| | | |

B. Mother's Country of Birth C. Mother's Date of Birth (mm/dd/yyyy)

 

 

 

||

D. Date Mother Became a U.S. Citizen 1. Mother's A-Number
(if known) (mm/dd/yyyy) (if any)

«(LETT

  

‘

3. Is your father a U.S. citizen? Yes. [_] No

If you answered "Yes," complete the information below. If you answered "No," go to Part 7,

A. Current Legal Name of U.S. Citizen Father

 

 

 

 

Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)
[Tellado | Dario | |Emesto
B. Father's Country of Birth C. Father's Date of Birth (mm/dd/yyyy)
[Argentina | los/o7/ 1960
D. Date Father Became a U.S. Citizen Father's A-Number
(if known) (mni/dd/yyyy) (if any)

 

 
   

NOTE: USCIS requires you to complete the categories below to conduct background checks. (See the Form N-400 Instructions for
more information.)
1, Ethnicity (Select only one box)

Hispanic or Latino [_] Not Hispanic or Latino

2. Race (Select all applicable boxes)

White [7] Asian [7] Black or [-] American Indian [| Native Hawaiian or
African American or Alaska Native Other Pacific Islander

3. Height Feet Inches [10 _ | 4, Weight Pounds [| |

5. Eye color (Select only one box)

[] Black [[] Bhte [[] Brown [-] Gray Green [_] Hazel [_] Maroon [_] Pink [_] Unknown/
Other

6. — Hair color (Select only one box)

[_] Bald [-] Black [] Blond Brown [_] Gray [_] Red [[] Sandy ([] White [7] Unknown/
(No hair) Other

 

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Sa

Part 8. Information ou Aufended 7] 4- > [9 [7 [9 |2]2]0]9]5)

List where you have worked or attended school full time or part time during the last five years. Provide information for the complete time
period. Include all military, police, and/or intelligence service. Begin by providing information about your most recent or current
employment, studies, or unemployment (if applicable). Provide the locations and dates where you worked, were self-employed, were
unemployed, or have studied for the last five years. If you worked for yourself, type or print "self-employed." If you were unemployed,
type or print "unemployed." If you need extra space, use additional sheets of paper.

 
 

1, Employer or School Name
[VPRART, LLC |

 

 

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
[7262 NW 33 Street }OO 0

City or Town State ZIP Cade + 4
Miami | FL [3122 |-| |
Province or Region Postal Code Country

(foreign address only) (foreign address only) (foreign address only)

 

| | |

Date From (mnvdd/yyyy) — Date To (mm/dd/yyyy) Your Occupation

 

 

 

 

 

 

 

 

 

07/30/2013 | [present | Owner |
2. Employer or School Name

[Unemployed |

Street Number and Name Apt. Ste. Flr. Number

City or Town State ZIP Code + 4

Province or Region Postal Code Country

(foreign address only) (foreign address only) (forcign.address only)

 

| i | |

Date From (nnvdd/yyyy) — Date To (mmi/dd/yyyy) Your Occupation
|02/19/2013 | 07/30/2013 | | Unemployed |

 

 

3. Employer or School Name

| |

 

 

 

 

Street Number and Name Apt. Ste. Flr. Number
jncoL_l
City or Town State ZIP Code + 4
Province or Region Postal Code Country

(foreign address only) (foreign address only) (foreign address only)

 

| | )| |

Date From (mm/dd/yyyy) — Date To (mmidd/yyyy) Your Occupation

| J| IL |

 

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(]9]719] 2] 8) 9) 91 5

1. How-many total days (24 hours or longer) did you spend outside the United States during the last 5 years? days

 

 

2. How many trips of 24 hours or longer have you taken outside the United States during the last 5 years? trips

3, List below all the trips of 24 hours or longer that you have taken outside the United States during the last 5 years. Start with
your most recent trip and work backwards. If you nced extra space, use additional sheets of paper.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. What is your current marital status?
Single, Never Married [_] Married [7] Divoreed [_] Widowed [_] Separated [_] Marriage Annulled

If you are single and have never married, go to Part 11,

2. If you are married, is your spouse a current member of the U.S, armed forces? (-] Yes [-] No

3. How many times have you been married (including annulled marriages, marriages to other people, and po
marriages to the same person)?

4, If you are married now, provide the following information about your current spouse.
A. Current Spouse's Legal Name
Family Name (Last Name) Given Name (First Name) Middle.Name (if applicable)

| 1 | |

B. Current Spouse's Previous Legal Name
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

C. Other Names Used by Current Spouse (include nicknames, aliases, and maiden name, if applicable)
Family Name (Last Name) Given Name (First Name) Middle Name (if applicable)

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D. Current Spouse's Date of Birth E, Date You Entered into Marriage
(mm/dd/yyyy) with Current Spouse (mni/dd/yyyy)

 

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F. Current Spouse's Present Home Address

 

 

 

 

Street Number and Name Apt. Ste. Fir. Number
L JoooL |
City or Town County State ZAP Code + 4
Province or Region Postal Code Country

(foreign address only) (foreign address only) (foreign address only)

 

| | IL |

G. Current Spouse's Current Employer or Company

5. _ Is your current spouse a U.S. citizen? [] Yes [-] No
If you answered "Yes," answer [tem Number 6, If you answered "No," go to Item Number 7,

6. If your current spouse is a U.S. citizen, complete the following information.
A. When did your current spouse become a U.S, citizen?

C] At Birth - Go te Item Number 8. [_] Other - Complete the following information.

B. Date Your Current Spouse Became
a US, Citizen (mm/dd/yyyy)

7, If your current spouse is not a U.S. citizen, complete the following information.

A, Current Spouse's Country of Citizenship or Nationality B, Current Spouse's A-Number (if any)

[ pea

C. Current Spouse's Immigration Status
[-] Lawful Permanent Resident [-] Other (Lixplain): | |

 

 

 

8. How many times has your current spouse been married (including annulled marriages, marrlages.to |
other people, and marriages to the same person)? If your current spouse has been married before,
provide the following information about your current spouse's prior spouse,

 

If your current spouse has had more than one previous marriage, provide that information on additional sheets of paper.
A, Legal Name of My Current Spouse's Prior Spouse
Family Name (Last Name} Given Name (First Name) Middle Name (if applicable)

| i J |

B. Immigration Stats of My Current Spouse's Prior Spouse (if known)
[] U.S. Citizen [{] Lawful Permanent Resident {| Other (Explain); |

 

 

C. Date of Birth of My Current Spouse's D. Country of Birth of My Current Spouse's
Prior Spouse (mun/dd/yyyy) Prior Spouse

E. Country of Citizenship or Nationality of My Current
Spouse's Prior Spouse

|

 

 

 

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“EXHIBIT EK”
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Department of Homeland Security . : ‘
US. Citizenship and Immigration Services Form L-797C, Notice of Action

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT,

 

 

 

 

 

 

 

 

 

 

 

Receipt NOTICE DATE
July 12,2018
CASE TYPE USCIS Ait
N-400. Application for Naturalization AXXXXXXXX
RECEIPT NUMBER RECEIVED DATE PRIORITY DATE PAGE
10E0904972123 July 09, 2018 July 09, 2018 Lof i
APPLICANT NAME AND MAILING ADDRESS PAYMENT INFORMATION:
KEVIN M. TELLADO Single Application Fee: $725.00

C/O JULIO GUTIERREZ LAW OFFICE OF JULIQ CHEERS

2464 SW 137 AVENUE tn .
MIAMI, FL. 33175 Total Balance Due: $0.00

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The above application has been received by our office and is in process. Our records indicate your personal information is as follows:

Date of Birth: December 31, 1990
Address Where You Live: KEVIN M. TELLADO
14195 OLD SHERIDAN STREET
PEMBROKE PINES, FL 33026
Please verify your personal information listed above and immediately notify our office at the address or phone number listed

below if there are any changes.

Upon receipt of all required Record Checks, you will be scheduled to appear for an interview at your local USCIS field office.

 

  

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For more information about the naturalization process and eligibility requirements, please read A Guide to Naturalization (M-476). USCIS also has
a free booklet to help study for the naturalization test. Ask about Learn About the United States: Quick Civies Lessons when you go to have your
fingerprints taken at the Application Support Center.

You can get a copy of the Guide, the Quick Civics Lessons booklet, and other civics and citizenship study materials from the USCIS website
(www.uscis.gov). You can also visit the USCIS websile to find valuable information about forms and filing instructions, and about general
immigration services and benefits.

If you have additional questions about possible immigration benefits and services, filing information, or USCIS forms, please call the USCIS
National Customer Service Center (NCSC) at 1-800-375-5283. If you are hearing impaired, please call the NCSC TDD at 1-800-767-1833.

If you have any questions or comments regarding this notice or the status of your case, please contact our office at the below address or customer
service number, You will be notified separately about any other case you may have filed.

IAC

USCIS Office Address: USCIS Customer Service Number:
USCIS National Benefits Center (800)375-5283

P. O. Box 648005 ATTORNEY COPY

Lee's Summit, MO 64002 E THAT i
Attention; N-400 Naturalization Applications | | TATE

 

 

 

 

 

If this is an interview or biometrics appointment notice, please see the back of this notice for Important information. Form 1-797C O7/Li/l4d Y
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“EXHIBIT Fk”
 

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Department of Homeland Security ° *
US. Citizenship and Immigration Services . Form 1-797C, Notice of Action

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT,

 

 

 

 

 

 

 

 

 

Recelpt Number USCIS Online Account Number Case Type
10E0904972123 07891932379] N400 - APPLICATION FOR NATURALIZATION
Received Date Priority Date Applicant
07/12/2018 A097 928 095
KEVIN M TELLADO
Notice Date Page
10/24/2018 1 of |
Please come to:
KEVIN M TELLADO
c/o JULIO NMN GUTIERREZ 5880 NW 183rd Street, MAIN LOBBY
LAW OFFICE OFJULIO GUTIERREZ P 1ST FLOOR

2464 SW 137 AVENUE HIALEAH, FL 33015

MIAMI FL 33175
On (Date): Monday, December 10, 2018

At (Time): 07:50AM

 

 

You are hereby notified to appear for an interview on your Application for Naturalization at the date, time, and place indicated above. Waiting room
capacity is limited, Please do not arrive any earlier than 30 minutes before your scheduled appointment time, The proceeding will take about two
hours. If for any reason you cannot keep this appointment, return this letter immediately to the U.S. Citizenship and Immigration Services (USCIS) office
address listed above with your explanation and a request for a new appointment, otherwise, no further action will be taken on your application.

If you are applying for citizenship for yourself, you will be tested on your knowledge of the government and history of the United States. You will also

be tested on reading, writing, and speaking English, unless on the day you filed your application, you have been living in the United States for a total of

at least 20 years as a lawful permanent resident and are over SO years old, or you have been living in the United States for a total of 15 years as a lawful
permanent resident and are over 55 years old, or unless you have a medically determinable disability (you must have filed form N648 Medical Certification
for Disability Exception, with your N400 Application for Naturalization).

You MUST BRING the following with you to the interview:
* This letter.
* Your Alien Registration Card ("green card").
* Any evidence of Selective Service Registration.
* Your passport and/or any other documents you used in connection with any entries into the United States.
* Those items noted below which are applicable to you:

If applying for NATURALIZATION AS THE SPOUSE of a United States Citizen;
* Your marriage certificate.
* Proof of death or divorce for each prior marriage of yourself or spouse.
* Your spouse's birth or naturalization certificate or certificate of citizenship.
If applying for NATURALIZATION as a member of the United States Armed Forces;
* Your discharge certificate, or form DD214.

If copies of a document were submitted as evidence with your N400 application, the originals of those documents should be brought to the interview.
PLEASE keep this appointment, even if you do not have all the items indicated above.

If you have any questions or comments regarding this notice or the status of your case, please contact the USCIS Contact Center toll free at
1-800-375-5283. If you are hearing impaired, please call the USCIS Contact Center TDD at 1-800-767-1833.

USCIS has a free booklet to help you study for the naturalization test, Ask about ‘Learn About the United States: Quick Civics Lessons' when you go to
have your fingerprints taken at the Application Support Center.

 

Please see the additional information on the back. You will be notified separately about any other cases you filed,

 

Receipt Number

National Benefits Center ! A Number t
U. S. CITIZENSHIP & IMMIGRATION SVC

P.O. Box 648004

Lee's Summit MO 64064

USCIS Contact Center: 1-800-375-5283

 

 

 

 

If this is an interview or biometrics appointment notice, please see the back of this notice for important information. ‘ Form I-797C 06/07/18

 

 
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“EXHIBIT G”

 
GaAse 1:19-cv-21660-RNS Document 4-1 Entered on FLSD Docket 04/30/2019 Page 26 of 26
2/21 myUSCIS - Your Appointment Confirmation

U.S. Citizenship and Immigration

 

Services
Appointment Details Your USCIS office Date Time
Hialeah Field Office 03-06- 09:15 AM
Customer: Kevin Tellado 5880 NW 183RD STREET 2019

Hialeah, FL 33015

This is the only time that we will provide you with your Personal Identification Number (PIN). Keep your
PIN and confirmation letter in a safe place in case you have to reschedule or cancel your appointment.

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PIN:

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Attention: « It is recommended that InfoPass appointments be scheduled with the field office ~
that serves the customer’s jurisdiction. While we strive to accommodate you at any field office, @&
some services may be limited if you schedule an appointment with an office outside of your
jurisdiction. « Do not come earlier than 15 minutes prior to your appointment. « If you need to
cancel or reschedule your appointment please visit my.uscis.gov/appointment to manage your
appointment.

What you need to bring Additional information
b This letter - Print a copy of this b AILUSCIS offices are handicap
appointment letter. accessible. If you need special

accommodations, please call the contact
center at 800-375-5283 (TDD for the
deaf or hard of hearing: 1-800-767-1833.)

> Government photo ID - You can bring
your passport, valid driver's license,
military ID, U.S. government ID, work
permit, or Green Card. > Bring a translator if you need someone

to help with translation.
» Application documents - Bring all

immigration forms, receipts, and any
other documents related to your case.

hittps://my.uscis.gov/en/appointment/us/confirmation 1/1

 
